            Case 1:20-cv-06879-JPC Document 37 Filed 11/25/20 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 MICHAEL PHILIP KAUFMAN
                                                            Civ. No. 1-20-cv-06879 (JPC)
                        Plaintiff,

        v.

 SALESFORCE.COM, INC.,

                        Defendant.




    DECLARATION OF MICHAEL PHILIP KAUFMAN IN OPPOSITION TO
DEFENDANT SALESFORCE.COM, INC.’S MOTION TO TRANSFER VENUE TO THE
               NORTHERN DISTRICT OF CALIFORNIA


       Michael Philip Kaufman declares as follows under penalty of perjury:

       1.       I am the plaintiff in this action. I make this declaration in opposition to the motion

of defendant salesforce.com, inc. (“Salesforce”) to transfer the venue of this action to the United

States District Court for the Northern District of California.

       2.       I am the lead inventor named in the patents currently asserted in this case, U.S.

Pat. Nos. 7,885,981 (the ’981 patent) and 10,025,801 (the “’801 patent”). I also have a co-

inventor, Micah Philip Silverman (“Mr. Silverman”). I solely control assertion of the mentioned

patents, by virtue of an assignment to me from Mr. Silverman of the assertion and licensing

rights in the aforementioned patents. Mr. Silverman retains a minority interest of any proceeds of

such assertion or licensing.

       3.       I currently reside in this District, in the Borough of Manhattan, New York, New

York. I have been at the same residence address since and prior to my invention in 2000. The
             Case 1:20-cv-06879-JPC Document 37 Filed 11/25/20 Page 2 of 3




invention was jointly made by me and Mr. Silverman, working in this District. The records

thereof, which are in my control, remain in this District.

        4.       I am currently employed full time as senior information technology executive

with Deutsche Bank, in New York, and have been so employed since 2004. Prior to that, I

worked as a systems consultant for various large corporations. This also included work until

2004 to commercialize my invention, under the firm of Schemalive LLC, which I owned.

        5.       I have previously litigated the ’981 patent in this District, through to a jury trial,

against Microsoft Corporation, in case no. 16-cv-2880-AKH.

        6.       Both myself and Mr. Silverman testified in the trial against Microsoft.

        7.       Mr. Silverman, who previously lived in Huntington Station, New York, relocated

about a year ago to Virginia Beach, Virginia, where he currently resides. He would willingly

appear to testify in a trial in this case, if necessary. I understand that Virginia Beach is less than a

full day’s drive from New York City, whereas San Francisco, California is more than eight times

that distance.

        8.       In the Microsoft trial, Microsoft unsuccessfully (though it has post-trial motions

that remain pending) challenged the ’981 patent on the basis of Microsoft’s Access database

product, which Salesforce has also asserted in this case (by way of its invalidity contentions,

which were recently served) as prior art. Access was developed in Washington, and one of its

developers testified at the trial. No prior art from California was raised at the Microsoft trial.

        9.       I am an individual, and a company such as Salesforce has considerably greater

means than I do. Having to litigate this case on the other side of the country would definitely be

inconvenient to me.




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             Case 1:20-cv-06879-JPC Document 37 Filed 11/25/20 Page 3 of 3



        10.      I know from personal experience that Salesforce's CRM products are widely used

throughout the business community in New York.

        1   1.   I chose the Southern District of New York   as the   forum for this case because I

live here, and the store of documents, electronic and otherwise, related to this case, is located

here and I, along with   Mr. Silverman, invented the inventions claimed in the    asserted patents

here.

        I declare under penalty of perjury that the foregoing is true and correct. Executed on

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